Case 9:16-cv-81569-WPD Document 8 Entered on FLSD Docket 09/12/2016 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                 CASE NO.: 9:16-CV-81569-DMM

 AFFORDABLE AERIAL
 PHOTOGRAPHY, INC.,

                  Plaintiff,

 v.

 ILLUSTRATED PROPERTIES REAL
 ESTATE INC., KATHLEEN S. MCLANE,
 EMMY BUCKMAN, MAUREEN R. SMITH,
 ROSE VASHA, GABRIEL VASHA,
 JENNIFER HYLAND, and ROSE “DOLLY”
 M. PETERS,

                  Defendants.


  PLAINTIFFS’ NOTICE OF PENDING, REFILED, RELATED OR SIMILAR ACTIONS

        Pursuant to Local Rule 3.8, Plaintiff gives notice of the following related action pending

 in this Court:

                 Affordable Aerial Photography, Inc. v. Illustrated Properties Real Estate, Inc. et
                  al. Case No: 9:16-cv-80109-WPD, filed on January 5, 2016.

        Plaintiff notifies the Court that these actions are related in that the plaintiffs are the same,

 two of the defendants are the same, and the defendants are all alleged to have infringed

 Plaintiff’s copyright in real estate photographs.

 DATED: September 12, 2016                      Respectfully submitted,


                                                  /s/ Joel B. Rothman
                                                JOEL B. ROTHMAN
                                                Florida Bar Number: 98220
                                                joel.rothman@sriplaw.com
                                                JEROLD I. SCHNEIDER
                                                Florida Bar Number: 26975

             SCHNEIDER ROTHMAN INTELLECTUAL PROPERTY LAW GROUP, PLLC
                            4651 NORTH FEDERAL HIGHWAY
                               BOCA RATON, FL 33431
Case 9:16-cv-81569-WPD Document 8 Entered on FLSD Docket 09/12/2016 Page 2 of 2




                                    jerold.schneider@sriplaw.com
                                    KEVIN E. CUDLIPP
                                    Florida Bar Number: 112433
                                    kevin.cudlipp@sriplaw.com

                                    SCHNEIDER ROTHMAN INTELLECTUAL
                                    PROPERTY LAW GROUP, PLLC
                                    4651 North Federal Highway
                                    Boca Raton, FL 33431
                                    561.404.4350 – Telephone
                                    561.404.4353 – Facsimile
                                    Attorneys for Plaintiff Affordable Aerial
                                    Photography, Inc.




                                       2
           SCHNEIDER ROTHMAN INTELLECTUAL PROPERTY LAW GROUP, PLLC
                          4651 NORTH FEDERAL HIGHWAY
                             BOCA RATON, FL 33431
